                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR05-4041-MWB
 vs.                                            ORDER ACCEPTING MAGISTRATE
                                                     JUDGE’S REPORT AND
 STEVEN BLACKFORD,
                                                RECOMMENDATION REGARDING
                 Defendant.                       DEFENDANT’S GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On June 15, 2005, a superceding indictment was returned against defendant Steven
Blackford, charging defendant with conspiring to distribute 500 grams or more of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846, and
possessing with intent to distribute 500 grams or more of methamphetamine, in violation
of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A).         On July 27, 2005, defendant appeared
before United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Counts
1 and 2 of the superceding indictment. On this same date, Judge Zoss filed a Report and
Recommendation in which he recommends that defendant’s guilty plea be accepted. No
objections to Judge Zoss’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommendation to accept defendant’s
plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of



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             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b). In this case, no objections have been filed, and it appears to the
court upon review of Judge Zoss’s findings and conclusions, that there is no ground to
reject or modify them.      Therefore, the court accepts Judge Zoss’s Report and
Recommendation of July 27, 2005, and accepts defendant’s plea of guilty in this case to
Counts 1 and 2 of the superceding indictment.
      IT IS SO ORDERED.
      DATED this 22nd day of August, 2005.




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